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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                    Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               RGN-Atlanta XXXV, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   N/A
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  3000       Kellway Drive
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 140
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Carrollton                   TX         75006
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Dallas
                                              ______________________________________________
                                              County
                                                                                                            One        Concourse Parkway
                                                                                                           _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                            Atlanta                    GA          30328
                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.regus.com/en-us
                                              ____________________________________________________________________________________________________




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Debtor
               RGN-Atlanta XXXV, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5 ___
                                             ___ 3 ___
                                                    1 ___
                                                       1
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
                RGN-Atlanta XXXV, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                           Yes.            See Rider 1.
                                                    Debtor _____________________________________________               Affiliates
                                                                                                         Relationship _________________________
       business partner or an
       affiliate of the debtor?                               Delaware
                                                    District _____________________________________________ When                See Rider 1.
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor        RGN-Atlanta XXXV, LLC
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                              8/29/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________
                                                                                                          James S. Feltman
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Responsible Officer
                                             Title _________________________________________




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              RGN-Atlanta XXXV, LLC
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                                 /s/ Patrick A. Jackson
                                            _____________________________________________            Date        8/29/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Patrick A. Jackson
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Faegre Drinker Biddle & Reath LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           222         Delaware Avenue, Suite 1410
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Wilmington
                                           ____________________________________________________             Delaware ______________________________
                                                                                                           ____________ 19801
                                           City                                                            State        ZIP Code

                                            (302) 467-4200
                                           ____________________________________                             Patrick.Jackson@faegredrinker.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4976
                                           ______________________________________________________  Delaware
                                                                                                  ____________
                                           Bar number                                             State




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                                            RIDER 1

       On the following dates, each of the entities listed below (collectively, the “Debtors”) filed
a voluntary petition in the United States Bankruptcy Court for the District of Delaware for relief
under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

7/30/2020
       RGN-Columbus IV, LLC (Case No. 20-11894)*

8/2/2020
       RGN-Chapel Hill II, LLC (Case No. 20-11910)*

8/3/2020
       RGN-Chicago XVI, LLC (Case No. 20-11916)*

8/8/2020
       RGN-Fort Lauderdale III, LLC (Case No. 20-11931)*

8/17/2020
       RGN-Group Holdings, LLC (Case No. 20-11961)*
       RGN-National Business Centers, LLC (Case No. 20-11962)*
       H Work, LLC (Case No. 20-11963)*

8/27/2020
       RGN-Lehi I, LLC**
       RGN-Lehi II, LLC**

8/29/2020

    •   RGN-Atlanta XXXV, LLC**




* These Debtors are being jointly administered for procedural purposes only pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure under the case captioned In re RGN-
Group Holdings, LLC, et al., Case No. 20-11961 (BLS) (Bankr. D. Del. 2020). [See D.I. 6.]

** These Debtors will move for joint administration of their cases for procedural purposes only
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure under the case captioned
In re RGN-Group Holdings, LLC, et al., Case No. 20-11961 (BLS) (Bankr. D. Del. 2020).




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                      WRITTEN CONSENT OF THE SOLE MEMBER
                                      of
                            RGN-ATLANTA XXXV, LLC


        Regus Corporation, being the sole member (the “Member”) of RGN-Atlanta XXXV,
LLC, a Delaware limited liability company (the “Company”), hereby takes the following actions
and adopts the following resolutions by written consent in lieu of a meeting pursuant to section
2.5 of the Limited Liability Company Agreement, and pursuant to Section 18-302 of the
Delaware Limited Liability Company Act:

Creation of Responsible Officers

        WHEREAS, in the judgment of the Member, it is desirable and in the best interests of the
Company to create two officer of the Company positions, appoint individuals to such officer
positions, and to delegate to such officers certain of the Member’s rights, powers, and duties to
manage and control the business and affairs of the Company. Such officers to be hereafter
designated as the “Responsible Officer” and the “Assistant Responsible Officer;” and

       WHEREAS, such delegation to the Responsible Officer and the Assistant Responsible
Officer is permissible under Section 18-302 of the Delaware Limited Liability Company Act.

Bankruptcy Resolutions

        WHEREAS, the Company, with the assistance of its financial and legal advisors, has
been conducting a review to consider and evaluate various strategic and financial alternatives,
including but not limited to, the sale or divestiture of all or substantially all of the Company’s
assets, a filing of petitions by the Company and certain of its affiliates to be effectuated under the
provisions of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy
Code”), other restructuring transactions or transactions otherwise designed to address the
Company’s liquidity constraints that may be available to the Company and its affiliates (each
such strategic alternative, a “Transaction”); and

         WHEREAS, the Member has reviewed and has had the opportunity to ask questions and
receive answers about and to discuss the materials presented by senior management of the
Company or its Member and the Company’s legal, financial and other advisors regarding the
liabilities and liquidity of the Company, the various potential Transactions and the impact of the
foregoing on the Company, its creditors, shareholders and other interested parties and its
business; and

       WHEREAS, in the judgment of the Member, it is desirable and in the best interests of
the Company, its creditors, shareholders and other interested parties, for the Company to file a
voluntary petition for relief under chapter 11 of the Bankruptcy Code.

       NOW, THEREFORE, BE IT RESOLVED, that the filing of the petition for relief in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) under
chapter 11 of the Bankruptcy Code, and the seeking of further relief by the Company under the


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Bankruptcy Code (such acts, effectuating the “Chapter 11 Case”), be and each hereby is,
authorized and approved for all purposes and in all respects; and it is

         FURTHER RESOLVED, that, effective as of the date of execution of this written
consent, the position of Responsible Officer is created for the Company and James S. Feltman
shall be and hereby is appointed as the Company’s Responsible Officer, the Responsible Officer
serving as the sole officer of the Company reporting to the Member on all aspects of the Chapter
11 Case, and with the direction or authorization of the Member to, among other actions that
would be customary for one serving in the capacity of Responsible Officer. In particular, and as
set forth in more detail in the letter agreement dated on or around the date of execution of this
written consent between Duff & Phelps, LLC and the Company, the Responsible Officer is
authorized to (a) evaluate and pursue any Transactions, (b) manage the process that will result in
a filing in the Bankruptcy Court, (c) conduct and oversee bankruptcy preparation and filing
activities; including execution of any relevant documents, including reviewing the petition and
any necessary first day affidavit, (d) attend and appear on behalf of the Company at bankruptcy
hearings and 341 meetings of creditors and related ancillary bankruptcy matters, including, but
not limited to, foreign proceedings, (e) develop, along with restructuring professionals, a
restructuring strategy and drive the process of exiting the company from bankruptcy on a timely
basis, (f) manage litigation impacting the Company, (g) coordinate activities and assist in
communication with outside constituents and advisors, including banks and their advisors,
(h) assist the Company and its management in developing a short-term cash flow forecasting tool
and related methodologies and to assist with planning for alternatives as requested, and (i) assist
with such other matters as may be needed or requested that fall within Mr. Feltman’s expertise
and that are mutually agreeable (collectively, the “Responsible Officer’s Duties”). Mr. Feltman
shall serve as Responsible Officer until the sooner of his death, resignation, or termination by the
Member; and it is

       FURTHER RESOLVED, that, effective as of the date of execution of this written
consent, the position of Assistant Responsible Officer is created for the Company and Ryan
Beckwith shall be and hereby is appointed as the Company’s Assistant Responsible Officer, the
Assistant Responsible Officer shall assist the Responsible Officer and shall perform such duties
as may be assigned to him or her by the Responsible Officer or by the Member; and it is

        FURTHER RESOLVED, that the Responsible Officer is hereby authorized and
empowered to do and perform all such acts, and to execute and deliver any and all agreements,
contracts, documents, instruments, or certificates on behalf of the Company, relating to the
Responsible Officer’s Duties and such agreements, contracts, documents, instruments or
certificates shall be binding on the Company in accordance with the terms thereof; and it is

        FURTHER RESOLVED, that the Responsible Officer, and any other person designated
and so authorized to act by the Member or Responsible Officer (each such designee being an
“Authorized Person”), be, and each hereby is, authorized and empowered to execute and verify
petitions and amendments thereto under chapter 11 of the Bankruptcy Code in the name and on
behalf of the Company, in such forms as the Authorized Person executing the same shall
approve, his, her or their execution to be conclusive evidence of the approval thereof by such
Authorized Person and the Member, and to file or cause the same to be filed in the Bankruptcy
Court at such time as such Authorized Person executing the same shall determine; and it is

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        FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized
and empowered to execute, verify and file or cause to be filed on behalf of and in the name of the
Company any and all petitions, schedules, motions, lists, applications, pleadings and other
papers, in such forms as the Authorized Person executing the same shall approve, his, her or their
execution to be conclusive evidence of the approval thereof by such Authorized Person and the
Member, and to take all such other actions deemed by such Authorized Person to be necessary,
appropriate or desirable in connection with the Chapter 11 Case, with a view to the successful
prosecution of the Chapter 11 Case; and it is

       FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized
and empowered on behalf of the Company, to engage and continue to retain the law firm of
Faegre Drinker Biddle & Reath LLP as restructuring and general bankruptcy counsel to the
Company to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights, including the preparation
of pleadings and filings in the Chapter 11 Case, and in connection therewith, the Authorized
Persons are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case, and to
cause to be filed appropriate applications for authority to retain the services of Faegre Drinker
Biddle & Reath LLP; and it is

         FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized
and empowered on behalf of the Company, to retain, financial advisors, and any other individual
and/or firm as professionals or consultants to the Company as are necessary to represent and
assist the Company in carrying out its duties under the Bankruptcy Code, including (a)
AlixPartners, as financial advisors to the Company, (b) Duff & Phelps, LLC, as restructuring
advisors to the Company, and (c) such additional professionals, including attorneys, accountants,
financial advisors, consultants, or brokers as may be necessary or desirable in connection with
the Chapter 11 Case and in connection therewith, including but not limited to a claims and
noticing agent and administrative advisor, each Authorized Person is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of such individuals and/or firms.

General

        NOW, THEREFORE, BE IT RESOLVED, that any Authorized Person be, and each
hereby is, authorized and empowered on behalf of the Company to perform any and all acts as
may be necessary or desirable to carry out the purposes of these resolutions and to complete the
transactions contemplated in the agreements and instruments referred to in the foregoing
resolutions, and to execute, file, and deliver all instruments and other documents as any such
officer may deem necessary or desirable to carry out the purposes and intent of the agreements
and instruments referred to in the foregoing resolutions; and the execution by any such officer of
any such act in connection with the foregoing matters shall conclusively establish such officer’s
authority therefor from the Company and the approval, ratification, and adoption by the
Company of the documents so executed and the actions so taken; and it is



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       FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized
and empowered to take any and all actions necessary or appropriate for the Company to
negotiate a refinancing, recapitalization, restructuring or other reorganization of the Company
and, subject to further approval of the Member, to enter into all other documents, agreements or
instruments to effectuate the foregoing; and it is

         FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized
and empowered on behalf of the Company to perform any and all acts as may be necessary or
desirable to undertake, execute, file, implement, and/or deliver the Chapter 11 Case and all other
instruments and documents contemplated by the foregoing resolutions and to take any and all
further action that such Authorized Person may deem necessary or desirable to effectuate any
action authorized by these resolutions, and otherwise to carry out the purposes and intent of the
foregoing resolutions, and the execution by any such officer of any such documents or the
performance by any such Authorized Person of any such act in connection with the foregoing
matters shall conclusively establish his or her authority therefore from the Company and the
approval and ratification by the Company of the documents so executed and the actions so taken;
and it is

        FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized
and empowered on behalf of the Company to take any and all action necessary, including the
execution of any amendments, documents, instruments or waivers or to obtain any waivers or
amendments of any agreements of the Company required by or under the Chapter 11 Case or any
of the transactions contemplated thereby, and any such action shall be binding on the Company
without further authorization; and it is

        FURTHER RESOLVED, that all authority conferred by these resolutions shall be
deemed retroactive and any and all acts authorized under these resolutions performed prior to the
adoption of this resolution are hereby ratified, affirmed and approved; and that, without
limitation of the foregoing, all actions heretofore taken for or on behalf of the Company by any
Authorized Person in connection with the transactions contemplated by the preceding resolutions
be, and hereby are, ratified, adopted and confirmed in all respects.

                                    [Signature page follows.]




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                   IN WITNESS WHEREOF, the undersigned, being the sole member of the Company,
            has executed this written consent as of the 29th day of August, 2020. Effectiveness requires
            execution by only one signatory listed below.

                                                             SOLE MEMBER OF RGN-ATLANTA XXXV,
                                                             LLC:


                                                             By:_________________________________
                                                             Name: Michael J. Osburn
                                                             Title: Vice President, Secretary and Treasurer

                                                             By:_________________________________
                                                             Name: Wayne Berger
                                                             Title: President and Chief Executive Officer—
                                                                    Americas

                                                             By:_________________________________
                                                             Name: Joshua Nicosia
                                                             Title: Assistant Secretary




                                                                  5
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      Fill in this information to identify the case:

                  RGN-Atlanta XXXV, LLC
      Debtor name __________________________________________________________________

                                                                                  Delaware
      United States Bankruptcy Court for the: ______________________ District of _________
                                                                            (State)
                                                                                                                                         Check if this is an
      Case number (If known):   _________________________
                                                                                                                                             amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                 12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

1     SPUS8 CCC, LP                                                        Leasehold
      PO BOX 847183
      LOS ANGELES, CA 90084-7183                                                                                                                       $288,644

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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
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    Debtor       RGN-Atlanta XXXV, LLC
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff


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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 11

 RGN-Atlanta XXXV, LLC, 1                              Case No. 20-_____ (___)

                 Debtor.


   COMBINED CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
  SECURITIES HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3),
           AND 7007.1 AND CERTIFICATION OF NO TAX RETURN

          1.    Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, the above-captioned debtor (the “Debtor”) certifies that the following

corporate entity (i) directly or indirectly owns 10% or more of the Debtor and (ii) directly or

indirectly holds 100% of the Equity Interests of the Debtor:


                  Name and Address                      Ownership & Interest
                  Regus Corporation                     100% Direct Ownership
                  15950 Dallas Parkway, Suite 400       100% of Equity Interest
                  Dallas, TX 75248



          2.    The Debtor hereby certifies that it is a non-electing single-member limited

liability corporation that is considered a “disregarded” entity under Treas. Reg. Section

301.7701-3. As such, pursuant to section 1116(1)(B) of chapter 11 of title 11 of the United

States Code, 11 U.S.C. §§ 101-1532, the Debtor hereby further certifies that no Federal tax

return has been filed for the Debtor.




  1
    The above-captioned Debtor is a disregarded entity for tax purposes and therefore does not
have a Federal Employer Identification Number. The mailing address for the Debtor and its
affiliate Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006. A complete list of
the Debtors in these chapter 11 cases can be found on Rider 1 of the Debtor’s Voluntary Petition.

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                          Reserved for GA, Atlanta, 1 Concourse Parkway
                                              Statements of Operations
                                             Periods ended July 31, 2020

                                                                                        07/31/2020

Revenues                                                                                  200,516

Operating Expenses
 Cost of services rendered and products sold                                              820,908


   General and Administrative                                                             430,143

   Depreciation and Amortization                                                               -
                                                                                         1,251,052


Income from Operations before provision for income taxes                                (1,050,536)


   Income taxes                                                                               -

Net Income                                                                              (1,050,536)

Notes

1) Financial statements are unaudited and as such are subject to material change
and revision
2) The financials were not prepared with a view toward compliance with
generally accepted accounting principals (“GAAP”) in the United States
3) Income taxes have not been individually recorded for this entity as it is part of
a consolidating income tax filing group
              Case 20-12018-BLS         Doc 1     Filed 08/29/20     Page 16 of 19


                        Reserved for GA, Atlanta, 1 Concourse Parkway
                                                   Balance Sheets
                                                    July 31, 2020

                                                                                     07/31/2020
Current Assets:
  Cash and cash equivalents                                                                -
  Restricted Cash                                                                           .00
  Investments                                                                               .00
  Accounts receivable net of allowance for doubtful accounts                            42,756
  Prepaid expenses and other current assets                                                216

         Total current assets                                                           42,972

Property and equipment, net                                                            977,080
Security deposits                                                                          -
Due from affiliates                                                                        -
Intangible assets, net                                                                      .00
Deferred Tax Asset                                                                         -

         Total Assets                                                                 1,020,052

Current liabilities:
  Accounts Payable                                                                         337
  Income Tax Payable                                                                        .00
  Accrued Expenses                                                                      44,275
  Client service retainers                                                                  .00

         Total Current Liabilities                                                      44,612

   Other liabilities                                                                  1,842,346
   Due to affiliates                                                                    272,290

         Total liabilities                                                            2,159,248

Stockholders Equity:
  Common stock                                                                              -

  Additional paid-in capital                                                                -

  Retained earnings                                                                  (1,139,195)

        Total stockholder's equity                                                   (1,139,195)

        Total liabilities and stockholder's equity                                    1,020,052

Notes

1) Financial statements are unaudited and as such are subject to material
change and revision
2) The financials were not prepared with a view toward compliance with
generally accepted accounting principals (“GAAP”) in the United States
3) Income taxes have not been individually recorded for this entity as it is
part of a consolidating income tax filing group
                 Case 20-12018-BLS         Doc 1    Filed 08/29/20      Page 17 of 19

                Reserved for GA, Atlanta, 1 Concourse Parkway
                                  Statements of Cash Flows
                                           July 31, 2020

                                                                                        07/31/2020
Operating Activities:
     Net Income                                                                         (1,050,536)
     Adjustments to reconcile net income to net cash provided by
     operating activities:
     Depreciation and amortization                                                             -
     Amortization of intangibles                                                                .00
     Other operating                                                                       (27,559)
     Changes in Operating Assets and Liabilities
       Accounts receivable                                                                  98,990
       Inventories                                                                              .00
       Accounts payable                                                                    826,750
     Net Cash Provided by operating activities                                            (152,355)

Investing Activities:
       Purchases of Property and Equipment                                               1,090,126
       Purchases of Intangibles                                                                 .00
       Acquisition of Business                                                                 -
       Disposal of Subsidiary                                                                   .00
       Other investing                                                                  (1,016,111)
       Net Cash Provided by (used) in investing activities                                  74,015

Financing Activities:

        Advances to Affiliates, net                                                        50,780
        Other financing                                                                       -
        Net Cash Provided by (used) in financing activities                                50,780

        Increase (decrease) in cash and cash equivalents                                   (27,559)

   Cash and cash equivalents at beginning of period                                            .00

   Cash and cash equivalents at end of period                                                   (0)

Notes

1) Financial statements are unaudited and as such are subject to material
change and revision
2) The financials were not prepared with a view toward compliance with
generally accepted accounting principals (“GAAP”) in the United States
3) Income taxes have not been individually recorded for this entity as it is
part of a consolidating income tax filing group
4) Includes the impact related to certain intercompany transactions which
have not been settled in cash as of the reporting date
                                 Case 20-12018-BLS                Doc 1           Filed 08/29/20              Page 18 of 19

 Fill in this information to identify the case and this filing:


              RGN-Atlanta XXXV, LLC
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)


             Other document that requires a
                                             See Schedule 1 attached hereto.
              declaration__________________________________________________________________________________


        I declare under penalty of perjury that the foregoing is true and correct.


                      8/29/2020
        Executed on ______________                                /s/ James S. Feltman
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 James S. Feltman
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Responsible Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          SCHEDULE 1 TO OFFICIAL FORM 202

        The Responsible Officer of the above-captioned Debtor has examined the information in

the following documents and reasonably believes the information therein is true and correct:


               Combined Corporate Ownership Statement and List of Equity Securities Holders
                Pursuant to Fed. R. Bankr. P. 1007(a)(1), 1007(a)(3), and 7007.1 and
                Certification of No Tax Return
               Balance Sheet
               Statement of Operations
               Statement of Cash Flows




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